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IN 'l"HE UNI"{‘ED S'l`A'I`ES DIS'{`R]CT COUR'I`
I"OR 'i"HE MIDD],E DlS'f`RIC'l` Ol" G[§ORGEA F||ed at z.'?,¢) ;D wl
3/7 , 20 //

 

 

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v. * Civii Action Nc). l:lO~ev»l36»WI.,S
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'l"l-]l;'£ KRYS'l`/-\l¢ COMPANY, OLIVIA ""
R()BI?,R'I`S AND S'l`l"lVE BR()WN, *
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Del`endanls. *
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'[`his matter came before the Cou:'t upon the Joint Motion For Courl Review and Approvai
01` Sett!emcnt and I)ismissa| 0{` Case with Prejttdice by plaintiff and defendants 'l`he Krysta]
Cc)mpany, ()Iivia Roberts and Steve Bl'own. 'l`he Cc)urt has reviewed the M()tion and conciudes
that the terms 0 t` the settlement are f`aii' and reasonable Accordingly, the .Ioinl l\/Iotion for Court
Rcvicw and /-\pprovai 0f` Scttlement and Disrnissal 01` Case with Prejndice is GRAN'!`I`£D, and
plaintiffs claims against defendants are DISMISSED WITI~I I’REJUD[CIE. 'l`he Clerk is directed

10 close this case.

'i‘his ___%§~'_ day or 771 w ,2011.

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CH;TUDGE

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